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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
 In re:                                          : Chapter 7
                                                 :
 MELISSA L. CECOLINI,                            : Case No. 19-17459-mdc
                                                 :
                                Debtor.          :
                                                 :

                                               ORDER

      Upon consideration of the Motion to Redeem filed by debtor Melissa L. Cecolini and the
Response in Opposition thereto filed by Prudential Savings Bank,

It is hereby ORDERED that the Motion to Redeem is DENIED.


Dated:                                                      ________________________
                                                            Magdeline D. Coleman
                                                            United States Bankruptcy Judge




OMC\4834-5129-4901.v1-2/20/20
